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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
__________________________________/

                     ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court upon the “Defendant’s Unopposed

Motion to Continue Sentencing” (doc. 64) filed August 2, 2006, in which

Defendant requests a 30-day continuance in order to complete her cooperation

with the Government. The Government is unopposed to the granting of the

motion.

      Finding good cause for the postponement, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion to continue sentencing (doc. 64) is granted.

      2.     Sentencing is reset for Tuesday, September 5, 2006 at 1:30 pm at

             the United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this seventh day of August, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
